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       3Jn tbe Wniteb $>tates QCourt of jfeberal QClaims
                                         No. 18-360C
                                    (Filed March 23, 2018)
                                   NOT FOR PUBLICATION


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CALVIN E. SUGGS,                           *
                                           *                      FILED
                      Plaintiff,           *
                                           *                     MAR 23 2018
       v.                                  *                    U.S. COURT OF
                                           *                   FEDERAL CLAIMS
THE UNITED STATES,                         *
                                           *
                     Defendant.            *
                                           *
                             *
* * * * * ** ** * * ** * ** **

                                          ORDER

       This case was filed prose on March 5, 2018, by Calvin E. Suggs, an inmate in
Moore Haven, Florida. See generally ECF No. 1. From the complaint, it appears
that plaintiff seeks to bring suit against several state prosecutors, defense
attorneys, judges, law-enforcement officials, private individuals, and the State of
Florida for alleged violations of law relating to previous state-court actions. See
generally id. But plaintiff misunderstands the purpose of this court's jurisdiction.
The Tucker Act grants this court jurisdiction over cases seeking damages against
the United States government for claims founded upon the Constitution, statutes,
or regulations of the United States, as well as damages for breaches of contracts
with the United States. 28 U.S.C. § 1491(a)(l). Congress has specifically withheld
from our subject-matter jurisdiction cases for damages that sound in tort or cases
that allege crimes committed against the plaintiff. Id.; Stanwych v. United States,
127 Fed. Cl. 308, 313- 14 (2016).

       As his case centers around complaints about allegedly tortious or criminal
conduct by state officials and private parties, our court lacks the authority to hear
the matter. Vlahahis v. United States, 215 Ct. Cl. 1018, 1018- 19 (1978); see also
Ambase Corp. v. United States, 61 Fed. Cl. 794, 796 (2004) (explaining that the
court does not h ave jurisdiction over private parties). "This court does not have


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jurisdiction over any claims alleged against states, localities, state and local
government entities, or state and local government officials and employees;
jurisdiction only extends to suits against the United States itself." Anderson v.
United States, 117 Fed. Cl. 330, 331 (Fed. Cl. 2014); see also Trevino v. United
States, 557 F. App'x 995, 998 (Fed. Cir. 2014) (explaining that this court cannot
hear claims against "states, localities, state and local government officials, state
courts, state prisons, or state employees"). Plaintiff's claims fall outside of our
jurisdiction. He does not even name the United States as a defendant. Instead, he
only names various individuals and the State of Florida as defendants for alleged
criminal or tortious conduct. See generally ECF No. 1. Further, he attempts have
this Court review the correctness of state-court decisions-as if this court were an
appellate court. Id. at 3- 7. But this court has no such power. See Hernandez v.
United States, 96 Fed. Cl. 195, 203 (2010) ("This court does not have jurisdiction to
review the decisions of [t he state-court judge] who presided over plaintiff's criminal
case or related allegations of ineffective counsel during the prosecution of plaintiff's
criminal case."); Burlison v. United States, 75 Fed. Cl. 736, 741 (2007) (explaining
that the court had no authority to review the disposition of a state court domestic-
relations matter).

       Under Rule 12(h)(3) of the Rules of the United States Court of Federal
Claims, the court may dismiss a case that falls outside of our jurisdiction sua
sponte. Because plaintiff states only claims that are obviously not within our
jurisdiction, t his case is DISMISSED for lack of juTisdiction. The Clerk is directed
to close this case.

IT IS SO ORDERED.




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